Case 9:08-cr-00018-RC-ZJH          Document 160        Filed 08/26/08       Page 1 of 1 PageID #:
                                            484



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                      LUFKIN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §           NO. 9:08-CR-18
                                                 §
JUSTIN BURLEIGH                                  §


            ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE'S
                     REPORT AND RECOMMENDATIONS


       The court referred this matter to the Honorable Earl S. Hines, United States magistrate judge,

at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

Defendant did not consent to pleading guilty before a United States magistrate judge. Therefore, the

magistrate judge recommended that the defendant's guilty plea should be presented to the United

States District Judge to whom this case is assigned.


       No objections have been filed. Accordingly, the findings of fact and conclusions of law of the

magistrate judge are correct and the report of the magistrate judge is ADOPTED.

        So ORDERED and SIGNED this 26 day of August, 2008.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge
